        Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 1 of 20




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



  UNITED STATES OF AMERICA, ET AL.,

                       Plaintiffs,

                      v.                                  Civil Action No. 1:21-cv-11558-LTS

  AMERICAN AIRLINES GROUP INC. and
  JETBLUE AIRWAYS CORPORATION,

                       Defendants.


 ANSWER OF DEFENDANT AMERICAN AIRLINES TO PLAINTIFFS’ COMPLAINT

       Defendant American Airlines Group, Inc. (“American Airlines”), by and through its

undersigned counsel, hereby answers the complaint filed on September 21, 2021 (the “Complaint”)

by plaintiffs United States of America, State of Arizona, State of California, District of Columbia,

State of Florida, Commonwealth of Massachusetts, Commonwealth of Pennsylvania, and

Commonwealth of Virginia (collectively, “Plaintiffs”).

       Except for those allegations expressly admitted herein, Defendant American Airlines

denies each and every allegation contained in the Complaint. Defendant American Airlines

incorporates into each response a denial of any allegations in the Complaint to the extent such

allegations assert or suggest that American Airlines committed any wrongdoing. Defendant

American Airlines intends to respond only to allegations directed at American Airlines, and not to

allegations that are directed solely to the other Defendant, JetBlue Airways Corporation. Except

as noted herein, Defendant American Airlines lacks knowledge or information sufficient to form

a belief as to the truth of the allegations regarding statements made in internal documents, non-

public statements, commercial plans, or intentions of companies other than Defendant American



                                                 1
         Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 2 of 20




Airlines. Defendant American Airlines further denies that the headings and footnotes or other

non-numbered statements contained in the Complaint constitute allegations of fact, and

Defendants deny them to the extent that they are considered as such. Defendant American Airlines

expressly denies that Plaintiffs are entitled to the relief requested or any other relief. To the extent

an allegation in the Complaint is admitted herein, that is not necessarily an admission that

American Airlines knew the particular fact at the time of the events at issue in this Action.

Defendant American Airlines reserves the right to amend and/or supplement this Answer.

                       RESPONSES TO PLAINTIFFS’ ALLEGATIONS

       Preamble:      Defendant American Airlines denies the allegations contained in the

unnumbered introductory paragraph on Pages 2 and 3 of the Complaint.

       1.      Defendant American Airlines admits the allegations in the first sentence of

Paragraph 1 of the Complaint. Defendant American Airlines further admits that the U.S. airline

industry was deregulated in 1978. Defendant American Airlines further admits that American

Airlines, Delta Air Lines, and United Airlines are some of the many airlines that compete in the

United States and are commonly described as “legacy” airlines. Defendant American Airlines

further admits that Southwest Airlines is one of many other airlines that competes in the United

States. Defendant American Airlines otherwise denies the allegations in Paragraph 1 of the

Complaint.

       2.      Defendant American Airlines admits that Douglas Parker, a former American

Airlines executive, was quoted by The New York Times on February 14, 2013, as stating that he

has “been a long proponent of consolidation in the industry.” Defendant American Airlines further

admits that Mr. Parker was quoted by The Wall Street Journal on April 4, 2012, as stating: “With




                                                   2
         Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 3 of 20




fewer airlines, there are fewer of us trying to get the same number of customers.” Defendant

American Airlines otherwise denies the allegations in Paragraph 2 of the Complaint.

       3.      Defendant American Airlines admits that it has entered into certain alliances with

foreign airlines, some of which may involve certain forms of coordination and revenue sharing.

Defendant American Airlines admits that oneworld, SkyTeam, and Star Alliance are international

airline alliances including so-called “legacy” airlines.       Defendant American Airlines lacks

knowledge or information sufficient to admit or deny the allegations in the fifth, sixth, and seventh

sentences of Paragraph 3 of the Complaint and therefore denies those allegations. Defendant

American Airlines otherwise denies the allegations in Paragraph 3 of the Complaint.

       4.      Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 4 of the Complaint and therefore denies those allegations.

       5.      Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 5 of the Complaint and therefore denies those allegations.

       6.      Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 6 of the Complaint and therefore denies those allegations.

       7.      To the extent the allegations in the first sentence of Paragraph 7 of the Complaint

relate to the Northeast markets referenced in the Complaint, Defendant American Airlines denies

those allegations. To the extent the allegations in the second sentence of Paragraph 7 of the

Complaint rely on American Airlines documents, those documents speak for themselves, and

Defendant American Airlines denies the characterization of those documents by Plaintiffs and the

allegations contained in Paragraph 7 regarding those documents. Defendant American Airlines

lacks knowledge or information sufficient to admit or deny the allegations in the third, fourth, fifth,




                                                  3
        Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 4 of 20




and sixth sentences of Paragraph 7 of the Complaint and therefore denies those allegations.

Defendant American Airlines otherwise denies the allegations in Paragraph 7 of the Complaint.

       8.      Defendant American Airlines admits that it is aware that JetBlue publicly

announced plans to launch a transatlantic flight from New York to London and to further expand

service to Europe. To the extent the allegations in the fourth and fifth sentences of Paragraph 8 of

the Complaint rely on American Airlines documents, those documents speak for themselves, and

Defendant American Airlines denies the characterization of those documents by Plaintiffs and the

allegations contained in Paragraph 8 regarding those documents. Defendant American Airlines

otherwise lacks knowledge or information sufficient to admit or deny the remaining allegations in

Paragraph 8 of the Complaint and therefore denies those allegations.

       9.      Defendant American Airlines denies the allegations in Paragraph 9 of the

Complaint.

       10.     To the extent the allegations in the second sentence of Paragraph 10 of the

Complaint rely on American Airlines documents, those documents speak for themselves, and

Defendant American Airlines denies the characterization of those documents by Plaintiffs and the

allegations contained in Paragraph 10 regarding those documents. Defendant American Airlines

otherwise denies the allegations in Paragraph 10 of the Complaint.

       11.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in the fourth sentence of Paragraph 11 of the Complaint and therefore

denies those allegations.   Defendant American Airlines otherwise denies the allegations in

Paragraph 11 of the Complaint.

       12.     Defendant American Airlines denies the allegations in Paragraph 12 of the

Complaint.




                                                 4
        Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 5 of 20




       13.     Defendant American Airlines admits that the Northeast Alliance will result in pro-

competitive benefits. The allegations in the third and fourth sentences of Paragraph 13 of the

Complaint are legal conclusions and therefore do not require a response. To the extent that the

third and fourth sentences of Paragraph 13 assert any factual allegations, Defendant American

Airlines denies these allegations. Defendant American Airlines otherwise denies the allegations

in Paragraph 13 of the Complaint.

       14.     Defendant American Airlines admits that Plaintiffs purport to take the actions stated

in the first, second, and third sentences of Paragraph 14 of the Complaint. Defendant American

Airlines denies that it has violated or will violate Section 1 of the Shearman Act, 15 U.S.C. § 1,

and Defendant American Airlines denies that Plaintiffs are entitled to relief of any kind. To the

extent that the remaining allegations in Paragraph 14 of the Complaint are legal conclusions, these

allegations do not require a response.      Defendant American Airlines otherwise denies the

allegations in Paragraph 14 of the Complaint.

       15.     The allegations in Paragraph 15 of the Complaint are legal conclusions and

therefore do not require a response. To the extent that Paragraph 15 of the Complaint asserts any

factual allegations, Defendant American Airlines admits the allegations in the second sentence of

Paragraph 15 of the Complaint as they relate to American Airlines, and otherwise lacks knowledge

or information sufficient to admit or deny the allegations in Paragraph 15 of the Complaint and

therefore denies those allegations.

       16.     The allegations in Paragraph 16 of the Complaint are legal conclusions and

therefore do not require a response. To the extent that Paragraph 16 asserts any factual allegations,

Defendant American Airlines admits that it transacts business in the District of Massachusetts, and




                                                 5
        Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 6 of 20




otherwise lacks knowledge or information sufficient to admit or deny the allegations in Paragraph

16 of the Complaint and therefore denies those allegations.

       17.     Defendant American Airlines admits the allegations contained in the second and

third sentences of Paragraph 17 of the Complaint. Defendant American Airlines otherwise lacks

knowledge or information sufficient to admit or deny the allegations in Paragraph 17 of the

Complaint and therefore denies those allegations.

       18.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 18 of the Complaint.

       19.     Defendant American Airlines admits that it entered into the Northeast Alliance with

JetBlue on July 15, 2020.      Defendant American Airlines admits that this partnership is

memorialized through various agreements, including but not limited to the Northeast Alliance

Agreement and the Mutual Growth Incentive Agreement. To the extent the allegations in the

second, third, fourth, and fifth sentences of Paragraph 19 of the Complaint rely on the agreements

executed in connection with the Northeast Alliance, those documents speak for themselves, and

Defendant American Airlines denies the characterization of those documents by Plaintiffs and the

allegations contained in Paragraph 19 regarding those documents. Defendant American Airlines

otherwise denies the allegations in Paragraph 19 of the Complaint.

       20.     Defendant American Airlines admits that American and JetBlue continue to set

prices independently. Defendant American Airlines otherwise denies the allegations in Paragraph

20 of the Complaint.

       21.     Defendant American Airlines admits that, in connection with the Northeast

Alliance, it entered into certain related agreements with JetBlue, including a Codeshare

Agreement. To the extent the allegations in Paragraph 21 of the Complaint rely on the agreements




                                                6
        Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 7 of 20




executed in connection with the Northeast Alliance, those documents speak for themselves, and

Defendant American Airlines denies the characterization of those documents by Plaintiffs and the

allegations contained in Paragraph 21 regarding those documents. Defendant American Airlines

otherwise denies the allegations in Paragraph 21 of the Complaint.

       22.     Defendant American Airlines denies the allegations in Paragraph 22 of the

Complaint.

       23.     Defendant American Airlines admits that it merged with TWA in 2001 and with

US Airways in 2013, and that US Airways (which is now part of American Airlines) merged with

America West in 2005. Defendant American Airlines otherwise lacks knowledge or information

sufficient to admit or deny the allegations in Paragraph 23 of the Complaint and therefore denies

those allegations.

       24.     Defendant American Airlines admits that Douglas Parker served as its Chief

Executive Officer from the date of the US Airways merger in 2013 until March 2022 and that Mr.

Parker previously served as Chief Executive Officer of US Airways and America West. Defendant

American Airlines further admits that it merged with US Airways in 2013, and that America West

and US Airways merged in 2005. To the extent the allegations in the fourth sentence of Paragraph

24 of the Complaint rely on American Airlines documents, those documents speak for themselves,

and Defendant American Airlines denies the characterization of those documents by Plaintiffs and

the allegations contained in Paragraph 24 regarding those documents. Defendant American

Airlines otherwise denies the allegations in Paragraph 24 of the Complaint.

       25.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 25 of the Complaint and therefore denies those allegations.




                                                7
         Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 8 of 20




        26.     Defendant American Airlines admits that capacity is a term used in the airline

industry to refer to the number of seats made available to customers. Defendant American Airlines

admits that it merged with US Airways in 2013, and that America West merged with US Airways

in 2005. To the extent the allegations in the second and sixth sentences of Paragraph 26 of the

Complaint rely on American Airlines documents, those documents speak for themselves, and

Defendant American Airlines denies the characterization of those documents by Plaintiffs and the

allegations contained in Paragraph 26 regarding those documents. Defendant American Airlines

lacks knowledge or information sufficient to admit or deny the allegations in the seventh, eighth,

ninth, and tenth sentences of Paragraph 26 of the Complaint and therefore denies those allegations.

Defendant American Airlines otherwise denies the allegations in Paragraph 26 of the Complaint.

        27.     Defendant American Airlines denies the allegations in Paragraph 27 of the

Complaint.

        28.     Defendant American Airlines denies the allegations in Paragraph 28 of the

Complaint.

        29.     Defendant American Airlines admits that it has entered into partnerships with Aer

Lingus, British Air, Iberia, and Finnair. Defendant American Airlines further admits that its

international partnerships may, but do not always, involve revenue sharing and coordination on

operations and pricing. Defendant American Airlines lacks knowledge or information sufficient

to admit or deny the allegations in the fourth, fifth, sixth, seventh, eighth, ninth, and tenth sentences

of Paragraph 29 of the Complaint and therefore denies those allegations. Defendant American

Airlines otherwise denies the allegations in Paragraph 29 of the Complaint.

        30.     Defendant American Airlines denies the allegations in Paragraph 30 of the

Complaint.




                                                   8
        Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 9 of 20




       31.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 31 of the Complaint and therefore denies those allegations.

       32.     Defendant American Airlines admits that available seat miles, or ASMs, are one

method of measuring capacity. Defendant American Airlines denies the allegations in the third

sentence of Paragraph 32 of the Complaint. Defendant American Airlines otherwise lacks

knowledge or information sufficient to admit or deny the allegations in Paragraph 32 of the

Complaint and therefore denies those allegations.

       33.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 33 of the Complaint and therefore denies those allegations.

       34.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 34 of the Complaint and therefore denies those allegations.

       35.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 35 of the Complaint and therefore denies those allegations.

       36.     Defendant American Airlines denies that JetBlue is uniquely disruptive. Defendant

American Airlines otherwise lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 36 of the Complaint and therefore denies those allegations.

       37.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 37 of the Complaint and therefore denies those allegations.

       38.     The allegations in the first sentence of Paragraph 38 of the Complaint are legal

conclusions and therefore do not require a response. To the extent that the first sentence of

Paragraph 38 of the Complaint asserts any factual allegations, Defendant American Airlines denies

these allegations. Defendant American Airlines admits that air travel enables consumers to travel

quickly and efficiently between airports. Defendant American Airlines otherwise lacks knowledge




                                                9
        Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 10 of 20




or information sufficient to admit or deny the allegations in Paragraph 38 of the Complaint and

therefore denies those allegations.

       39.     The allegations in Paragraph 39 of the Complaint are legal conclusions and

therefore do not require a response. To the extent that Paragraph 39 of the Complaint asserts any

factual allegations, Defendant American Airlines denies these allegations.

       40.     Defendant American Airlines admits that it charges different fares based on

different restrictions and rules that apply to those fares. The allegations in the fourth sentence of

Paragraph 40 of the Complaint are legal conclusions and therefore do not require a response. To

the extent that the fourth sentence of Paragraph 40 of the Complaint asserts any factual allegations,

Defendant American Airlines denies these allegations. Defendant American Airlines otherwise

lacks knowledge or information sufficient to admit or deny the allegations in Paragraph 40 of the

Complaint and therefore denies those allegations.

       41.     The allegations in Paragraph 41 of the Complaint are legal conclusions and

therefore do not require a response. To the extent that Paragraph 41 of the Complaint asserts any

factual allegations, Defendant American Airlines denies these allegations.

       42.     The allegations in Paragraph 42 of the Complaint are legal conclusions and

therefore do not require a response. To the extent that Paragraph 42 of the Complaint asserts any

factual allegations, Defendant American Airlines denies these allegations.

       43.     The allegations in Paragraph 43 of the Complaint are legal conclusions and

therefore do not require a response. To the extent that Paragraph 43 of the Complaint asserts any

factual allegations, Defendant American Airlines denies these allegations.

       44.     Defendant American Airlines denies the allegations in Paragraph 44 of the

Complaint.




                                                 10
       Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 11 of 20




       45.     Defendant American Airlines denies the allegations in Paragraph 45 of the

Complaint.

       46.     Defendant American Airlines denies the allegations in Paragraph 46 of the

Complaint.

       47.     Defendant American Airlines denies the allegations in Paragraph 47 of the

Complaint.

       48.     The allegations in Paragraph 48 of the Complaint are legal conclusions and

therefore do not require a response. To the extent that Paragraph 48 of the Complaint asserts any

factual allegations, Defendant American Airlines denies these allegations.

       49.     Defendant American Airlines denies the allegations in Paragraph 49 of the

Complaint.

       50.     Defendant American Airlines denies the allegations in Paragraph 50 of the

Complaint.

       51.     Defendant American Airlines denies the allegations in Paragraph 51 of the

Complaint.

       52.     Defendant American Airlines denies the allegations in Paragraph 52 of the

Complaint.

       53.     Defendant American Airlines admits that it provides nonstop service from Boston

Logan International Airport to certain domestic destinations. Defendant American Airlines lacks

knowledge or information sufficient to admit or deny the allegations with respect to the specific

routes listed in Appendix A or the business of JetBlue and therefore denies those allegations.

Defendant American Airlines otherwise denies the allegations in Paragraph 53 of the Complaint.




                                               11
       Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 12 of 20




       54.     To the extent the allegations in the fourth sentence of Paragraph 54 of the

Complaint rely on American Airlines documents, those documents speak for themselves, and

Defendant American Airlines denies the characterization of those documents by Plaintiffs and the

allegations contained in Paragraph 54 regarding those documents. Defendant American Airlines

otherwise lacks knowledge or information sufficient to admit or deny the allegations in Paragraph

54 of the Complaint and therefore denies those allegations.

       55.     To the extent the allegations in the third and fourth sentences of Paragraph 55 of

the Complaint rely on American Airlines documents, those documents speak for themselves, and

Defendant American Airlines denies the characterization of those documents by Plaintiffs and the

allegations contained in Paragraph 55 regarding those documents. Defendant American Airlines

otherwise lacks knowledge or information sufficient to admit or deny the allegations in Paragraph

55 of the Complaint and therefore denies those allegations.

       56.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 56 of the Complaint and therefore denies those allegations.

       57.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in the second, third, fourth, and fifth sentences of Paragraph 57 of the

Complaint and therefore denies those allegations. Defendant American Airlines otherwise denies

the allegations in Paragraph 57 of the Complaint.

       58.     Defendant American Airlines admits that it provides nonstop service from John F.

Kennedy International Airport and LaGuardia Airport to certain domestic destinations. Defendant

American Airlines lacks knowledge or information sufficient to admit or deny the allegations with

respect to the specific routes listed in Appendix B or the business of JetBlue and therefore denies




                                                12
       Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 13 of 20




those allegations. Defendant American Airlines otherwise denies the allegations in Paragraph 58

of the Complaint.

       59.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 59 of the Complaint and therefore denies those allegations.

       60.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 60 of the Complaint and therefore denies those allegations.

       61.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 61 of the Complaint and therefore denies those allegations.

       62.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in the first and third sentences of Paragraph 62 of the Complaint and

therefore denies those allegations. Defendant American Airlines admits that it stopped serving the

JFK-SAN route for a period of time in 2019. Defendant American Airlines otherwise denies the

allegations in Paragraph 62 of the Complaint.

       63.     Defendant American Airlines admits that it is aware that JetBlue publicly

announced plans to launch a transatlantic flight from New York to London and to further expand

service to Europe. Defendant American Airlines otherwise lacks knowledge or information

sufficient to admit or deny the allegations in the second sentence of Paragraph 63 of the Complaint

and therefore denies those allegations.     Defendant American Airlines otherwise denies the

allegations in Paragraph 63 of the Complaint.

       64.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 64 of the Complaint and therefore denies those allegations.

       65.     Defendant American Airlines lacks knowledge or information sufficient to admit

or deny the allegations in Paragraph 65 of the Complaint and therefore denies those allegations.




                                                13
       Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 14 of 20




       66.    To the extent the allegations in the second and third sentence of Paragraph 66 of

the Complaint rely on American Airlines documents, those documents speak for themselves, and

Defendant American Airlines denies the characterization of those documents by Plaintiffs and the

allegations contained in Paragraph 66 regarding those documents. Defendant American Airlines

otherwise denies the allegations in Paragraph 66 of the Complaint.

       67.    Defendant American Airlines admits that it is aware that JetBlue publicly

announced plans to launch a transatlantic flight from New York to London and to further expand

service to Europe. To the extent the allegations in the first sentence of Paragraph 67 of the

Complaint rely on the contracts regarding the Northeast Alliance, those documents speak for

themselves, and Defendant American Airlines denies the characterization of those documents by

Plaintiffs and the allegations contained in Paragraph 67 regarding those documents. Defendant

American Airlines otherwise denies the allegations in Paragraph 67 of the Complaint.

       68.    Defendant American Airlines denies the allegations in Paragraph 68 of the

Complaint.

       69.    To the extent the allegations in the first, third, and fourth sentences of Paragraph 69

of the Complaint rely on American Airlines documents, those documents speak for themselves,

and Defendant American Airlines denies the characterization of those documents by Plaintiffs and

the allegations contained in Paragraph 69 regarding those documents. Defendant American

Airlines otherwise denies the allegations in Paragraph 69 of the Complaint.

       70.    To the extent the allegations in the second, third, seventh, and eighth sentences of

Paragraph 70 of the Complaint rely on American Airlines documents, those documents speak for

themselves, and Defendant American Airlines denies the characterization of those documents by

Plaintiffs and the allegations contained in Paragraph 70 regarding those documents. To the extent




                                                14
       Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 15 of 20




the allegations in the fifth sentence of Paragraph 70 of the Complaint rely on the contracts

regarding the Northeast Alliance, those documents speak for themselves, and Defendant American

Airlines denies the characterization of those documents by Plaintiffs and the allegations contained

in Paragraph 70 regarding those documents. Defendant American Airlines otherwise denies the

allegations in Paragraph 70 of the Complaint.

       71.     Defendant American Airlines denies the allegations in Paragraph 71 of the

Complaint.

       72.     Defendant American Airlines denies the allegations in Paragraph 72 of the

Complaint.

       73.     To the extent the allegations in the third sentence of Paragraph 73 of the Complaint

rely on American Airlines documents, those documents speak for themselves, and Defendant

American Airlines denies the characterization of those documents by Plaintiffs and the allegations

contained in Paragraph 73 regarding those documents. Defendant American Airlines otherwise

denies the allegations in Paragraph 73 of the Complaint.

       74.     To the extent the allegations in the sixth sentence of Paragraph 74 of the Complaint

rely on the contracts regarding the Northeast Alliance, those documents speak for themselves, and

Defendant American Airlines denies the characterization of those documents by Plaintiffs and the

allegations contained in Paragraph 74 of the Complaint regarding those documents. Defendant

American Airlines lacks knowledge or information sufficient to admit or deny the allegations with

respect to the specific routes listed in Appendix C or the business of JetBlue and therefore denies

those allegations. Defendant American Airlines otherwise denies the allegations in Paragraph 74

of the Complaint.




                                                15
        Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 16 of 20




       75.     Defendant American Airlines denies the allegations in Paragraph 75 of the

Complaint.

       76.     The allegations in Paragraph 76 of the Complaint are legal conclusions and

therefore do not require a response. To the extent that Paragraph 76 of the Complaint asserts any

factual allegations, Defendant American Airlines denies these allegations.

       77.     Defendant American Airlines denies the allegations in Paragraph 77 of the

Complaint.

       78.     Defendant American Airlines denies the allegations in Paragraph 78 of the

Complaint that characterize Defendants’ position concerning the effects of the COVID-19

pandemic on the evaluation of the Northeast Alliance. Defendant American Airlines admits that

the airline industry is likely to rebound from the pandemic at some point, but denies, to the extent

it is implied, that the post-COVID airline industry will be the same as existed and was expected to

exist when the Northeast Alliance was planned.

       79.     Defendant American Airlines admits that it entered into commitments with the U.S.

Department of Transportation regarding the Northeast Alliance on January 10, 2021. Defendant

American Airlines otherwise denies the allegations in Paragraph 79 of the Complaint.

       80.     To the extent the allegations in Paragraph 80 of the Complaint rely on the contracts

regarding the Northeast Alliance, those documents speak for themselves, and Defendant American

Airlines denies the characterization of those documents by Plaintiffs and the allegations contained

in Paragraph 80 regarding those documents. Defendant American Airlines otherwise denies the

allegations in Paragraph 80 of the Complaint.

       81.     Defendant American Airlines incorporates its responses to Paragraphs 1 through 80

of the Complaint as set forth in the above responses.




                                                16
        Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 17 of 20




       82.     Defendant American Airlines admits that the legality of the Northeast Alliance

should be properly considered under the rule of reason as applied under Section 1 of the Sherman

Act, 15 U.S.C. § 1.

       83.     Defendant American Airlines denies the allegations in Paragraph 83 of the

Complaint.

       84.     Defendant American Airlines denies the allegations in Paragraph 84 of the

Complaint.

       85.     Defendant American Airlines denies the allegations in Paragraph 85 of the

Complaint (including all subparts).

       86.     Defendant American Airlines denies the allegations in Paragraph 86 of the

Complaint.

       87.     The allegations in Paragraph 87 of the Complaint are requests for relief to which

no response is required. Defendant American Airlines avers, however, that Plaintiffs are entitled

to no relief and that judgment should be entered in favor of Defendants.

                                  AFFIRMATIVE DEFENSES

       Without assuming the burden of proof that it would otherwise not bear under applicable

law, Defendant American Airlines asserts the following affirmative defenses, which are pleaded

in the alternative and none of which constitute an admission by American Airlines of any liability

or wrongdoing, or that Plaintiffs are entitled to any relief whatsoever:

                              FIRST AFFIRMATIVE DEFENSE

                                      (Failure to State a Claim)

       Plaintiffs’ claim is barred because the Complaint fails to state a claim upon which relief

can be granted.




                                                 17
        Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 18 of 20




                             SECOND AFFIRMATIVE DEFENSE

                             (Failure to Prove Anticompetitive Harm)

       Plaintiffs’ claim is barred because Plaintiffs have failed to establish that the conduct alleged

is likely to have any anticompetitive effect or result in any anticompetitive harm to consumers in

any relevant market.

                              THIRD AFFIRMATIVE DEFENSE

                                   (Conduct Is Procompetitive)

       Plaintiffs’ claim is barred because the conduct alleged has actual procompetitive effects,

including but not limited to enhanced efficiency, creation of a new product, improved product

quality, and higher quality of customer service.

                            FOURTH AFFIRMATIVE DEFENSE

                               (Legitimate Business Justifications)

       Plaintiffs’ claim is barred because all conduct alleged was carried out in furtherance of

Defendants’ legitimate business and economic interests and without any purpose or intent to injure

competition.

                              FIFTH AFFIRMATIVE DEFENSE

                           (Other Defenses Incorporated by Reference)

       Defendant American Airlines adopts and incorporates by reference any and all other

additional affirmative defenses asserted or to be asserted by any other Defendant in this proceeding

to the extent that American Airlines may share in such affirmative defenses.

                                         RESERVATION

       Defendant American Airlines has not knowingly or intentionally waived any applicable

defenses and reserves the right to assert or rely upon any other defenses that may become available




                                                   18
       Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 19 of 20




or known to it throughout the course of this action. Defendant American Airlines reserves the

right to amend or supplement its affirmative defenses.

Dated: July 11, 2022                        Respectfully submitted,


                                            /s/ Daniel M. Wall

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                                               19
        Case 1:21-cv-11558-LTS Document 111 Filed 07/11/22 Page 20 of 20




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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document, which was filed with the Court through the
CM/ECF system, will be sent electronically to all registered participants as identified on the Notice
of Electronic Filing.

                                                      /s/ Daniel M. Wall
                                                      Daniel M. Wall




                                                 20
